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                      Exhibit 1
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                           THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

 CONSUMER FINANCIAL PROTECTION
 BUREAU,
                                               AMENDED COMPLAINT
              Plaintiff,
                                               Case No. 2:23-cv-00462-JCB
              v.

 SNAP FINANCE LLC, SNAP RTO LLC,
 SNAP SECOND LOOK LLC, SNAP U.S.
 HOLDINGS LLC, SNAP FINANCE
 HOLDINGS LLC,

              Defendants.




       The Consumer Financial Protection (Bureau) brings this action against Snap

 Finance LLC (Snap Finance), Snap RTO LLC (Snap RTO), Snap Second Look LLC (Snap

 Second Look), Snap U.S. Holdings LLC (Snap U.S. Holdings), and Snap Finance

 Holdings LLC (Snap Finance Holdings) (collectively, the Snap Defendants), and alleges

 the following:

                                    INTRODUCTION

       1.     The Snap Defendants offer and provide “lease-purchase” or “rental-

 purchase” financing, through which consumers finance merchandise and services from
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 merchants and, in turn, make payments back to the Snap Defendants. The Snap

 Defendants target consumers with limited access to traditional forms of credit for their

 financing, whom they refer to internally using the acronym ALICE, standing for “Asset-

 Limited Income-Constrained and Employed.” The Snap Defendants’ “lease-purchase”

 and “rental-purchase” agreements (Purchase Agreements or Agreements) have a default

 12- or 18-month payment schedule, which typically amounts to more than double the

 cash price of the financed merchandise or service.

        2.     Since at least January 2017, the Snap Defendants have designed and

 implemented their financing program in ways that misled these consumers and

 interfered with their ability to understand the terms and conditions of their Purchase

 Agreements.

        3.     Since at least January 2017, Snap Finance, which is the consumer-facing

 and merchant-facing entity among the Snap Defendants, has partnered with merchants

 across industries to offer and provide consumers with financing through Purchase

 Agreements. Notably, since at least January 2017, Snap Finance has partnered with auto

 repair merchants to offer and provide financing through Purchase Agreements for one-

 time auto repairs and services (engine repairs, transmission repairs, A/C system repairs,

 collision repairs, etc.) for which consumers’ scheduled payments, whether over 12 or 18

 months, are not contemporaneous or substantially contemporaneous with the value

 received. Nor can such one-time services be surrendered, possessed, or recalled. For

 example, consumers cannot possess or return the one-time labor or services extended to

 fix their transmission, see Exs. A and B, to fix their engine, see Exs. C and D, or for a

 collision repair, see Ex. E. Nor can consumers surrender dried paint or dissipated fluids

 associated with such auto repairs and services. See Exs. D and E.

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        4.     Since at least January 2017, for consumers who finance auto repairs and

 services through Purchase Agreements, the Snap Defendants’ merchant partners often

 itemize the costs of the auto parts or merchandise being installed or replaced as part of

 the invoice appended to the consumer’s Agreement. See Ex. D. The total amount

 consumers owe under their Purchase Agreement is based on their invoice total, and is

 inclusive of labor or service costs.

        5.     Since at least January 2017, for numerous consumers who financed auto

 repairs and services through Purchase Agreements, their Agreements reflect that they

 financed exclusively one-time labor or service costs not attendant to any auto parts or

 merchandise. See Exs. A, F, and G.

        6.     For all such consumers who financed auto repairs and services through a

 Purchase Agreement, the Snap Defendants’ illegal conduct pervaded virtually every step

 of the consumer experience, from advertising to contracting to servicing.

        7.     Advertising. The Snap Defendants aggressively marketed their financing

 to cash-strapped consumers through advertisements that obscured the true nature of

 their Purchase Agreements. In particular, Snap Finance provided auto repair merchants

 with advertisements to display in their stores that misrepresented an early payment

 discount option and failed to disclose the true costs consumers would incur under the

 Agreements.

        8.     Contracting. Through the fall of 2020, the Snap Defendants designed

 their primary financing application for auto repairs and services to be completed—and

 for consumers’ Purchase Agreements to be signed and submitted—on a merchant’s

 computer or tablet. When consumers signed an Agreement, their understanding of its

 terms and conditions often depended on an oral explanation from an auto repair

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 merchant’s sales representative. But for years, Snap Finance failed to provide its auto

 repair merchant partners with any written guidance for explaining the Purchase

 Agreements to consumers. Auto repair merchants also frequently signed and submitted

 Purchase Agreements on behalf of consumers without consumers’ prior review of their

 Agreement.

       9.     The Snap Defendants’ Purchase Agreements schedule automatic and

 recurring preauthorized ACH debits from consumers’ bank accounts to continue for 12

 or 18 months, amounting to approximately double the cash price of the financed auto

 repairs and services. The Snap Defendants’ contracting process left many consumers

 who financed auto repairs and services misinformed, or otherwise misled, regarding the

 cost and nature of the Agreement they had just entered.

       10.    Servicing. The Snap Defendants’ illegal conduct continued throughout

 the servicing process, including by threatening to take actions against consumers who

 financed auto repairs and services that Snap Finance does not take in collections.

       11.    In the limited circumstances in which the Purchase Agreements permitted

 consumers to terminate their payment obligations, Snap Finance’s misrepresentations

 impeded consumers’ ability to do so.

       12.    Finally, despite furnishing consumer information about millions of

 Purchase Agreements and retail installment contracts on behalf of Snap RTO and Snap

 Second Look, Snap Finance failed to establish and implement reasonable written

 policies and procedures concerning the accuracy and integrity of the consumer

 information that it furnished.

       13.    The Bureau brings this action under Sections 1036(a) and 1054 of the

 Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5536(a) and 5564;

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 Section 918(a) of the Electronic Fund Transfer Act (EFTA), 15 U.S.C. § 1693o(a)(5), and

 its implementing Regulation E, 12 C.F.R. Part 1005; and Section 621(b)(1)(H) of the Fair

 Credit Reporting Act (FCRA), 15 U.S.C. § 1681s(b)(1)(H), and its implementing

 Regulation V, 12 C.F.R. Part 1022, to stop the Snap Defendants’ unlawful conduct, to

 rescind or reform the terms of their Purchase Agreements with consumers, to obtain

 redress for affected consumers and an appropriate penalty, and to obtain all other

 appropriate relief.

                              JURISDICTION AND VENUE

         14.   This Court has subject-matter jurisdiction over this action because it is

 brought under Federal consumer financial law, 12 U.S.C. § 5564(a)(1), presents a federal

 question, 28 U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C §

 1345.

         15.   Venue is proper in this district because the Snap Defendants are located,

 reside, and do business here. 12 U.S.C. § 5564(f).

                                        PLAINTIFF

         16.   The Bureau is an independent agency of the United States charged with

 enforcing “Federal consumer financial laws.” 12 U.S.C. § 5491(a).

         17.   The Bureau is authorized to initiate proceedings in its own name and

 through its own attorneys to address violations of Federal consumer financial law,

 including the CFPA, EFTA and Regulation E, and FCRA and Regulation V. 12 U.S.C.

 §§ 5564(a)-(b), 5565.

                                THE SNAP DEFENDANTS

         18.   Snap Finance is a Utah limited liability company headquartered at 1193

 West 2400 South, West Valley City, UT 84119. Snap Finance partners with merchants to

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 market, offer, and underwrite Purchase Agreements for consumers. In certain states,

 Snap Finance also offers two unsecured installment loan products: Snap Loan and Snap

 Credit+. If Snap Finance denies a consumer’s application for Snap Credit+ (which

 features a longer default term and lower interest rate than Snap Loan), Snap Finance

 automatically submits the consumer’s application for a Purchase Agreement or for a

 Snap Loan.

       19.    Snap RTO is a Utah limited liability company headquartered at 1193 West

 2400 South, West Valley City, UT 84119. Snap Finance provides underwriting,

 originations, collections, and other services for Snap RTO. Snap RTO issues and holds

 completed Purchase Agreements, which Snap Finance services.

       20.    Snap Second Look is a Utah limited liability company headquartered at

 1193 West 2400 South, West Valley City, UT 84119. Snap Second Look purchases retail

 installment contracts from merchants and participation interests in certain installment

 loans originated by Transportation Alliance Bank, Inc. Snap Finance then services those

 contracts on behalf of Snap Second Look.

       21.    Snap U.S. Holdings is a Delaware limited liability company headquartered

 at 1193 West 2400 South, West Valley City, UT 84119. Snap U.S. Holdings owns 100% of

 the equity interests in Snap Finance and Snap RTO, and is the sole manager of Snap

 Finance, Snap RTO, and Snap Second Look.

       22.    Snap Finance Holdings is a Utah limited liability company headquartered

 at 1193 West 2400 South, West Valley City, UT 84119. Snap Finance Holdings is a

 member of Snap U.S. Holdings, and remains the ultimate parent of Snap Finance, Snap

 RTO, and Snap Second Look.



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       23.    From January 2017 to mid-2021, the Snap Defendants entered

 approximately 2.6 million Purchase Agreements with consumers. During approximately

 that same period, approximately 191,000 consumers contracted for a Snap Loan or

 Credit+ financing.

       24.    According to an internal presentation from 2022, “Auto_Service”

 accounted for 13.3 percent of the Snap Defendants’ business across its financing

 products. Separately, “Tires_Rims” accounted for 31.2 percent and “Car_Audio”

 accounted for 6.5 percent of the Snap Defendants’ business.

       25.    The Snap Defendants operate as a common enterprise. Of the Snap

 Defendants, only Snap Finance has employees. The Snap Defendants operate through

 Snap Finance’s website and branding, and all share the same business address. From

 late 2015 to late 2019, Snap Finance Holdings directly owned 100% of Snap Finance and

 Snap RTO, and 88.1% of Snap Second Look. Throughout that period, four out of the five

 officers for Snap Finance, Snap RTO, and Snap Second Look were also officers for Snap

 Finance Holdings. In late 2019, those officers created Snap U.S. Holdings, which owns

 100% of the equity interests in Snap Finance and Snap RTO, and the officers went on to

 hold their same position at all five of the Snap Defendants through at least December

 2020 (Chief Executive Officer, Chief Financial Officer, Chief Operating Officer, and

 Chief Legal Officer). The Snap Defendants’ financial statements and balance sheets are

 all issued on a consolidated basis. At the close of 2020, the Snap Defendants held $476

 million in assets and made nearly $114 million in net income for the year.

       26.    An act by one entity constitutes an act by each entity comprising the

 common enterprise. The Snap Defendants are each jointly and severally liable for the

 acts and practices alleged below.

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                     THE SNAP DEFENDANTS’ ADVERTISEMENTS

       27.    When a merchant partners with the Snap Defendants, a Snap Finance

 sales manager visits the store to set up the Merchant Portal and provide Snap Finance’s

 print advertising materials for the merchant to display.

       28.    Snap Finance requires its merchant partners to display only the print

 advertisements that Snap Finance provides to them, or that Snap Finance otherwise

 approves.

       29.    From January 2017 through at least 2020, Snap Finance provided auto

 repair merchants with advertisements to display in their stores that included the

 prominent phrase “100 Day Cash Payoff” without any further explanation of the

 Purchase Agreements. Rather, along with the prominent phrase “100 Day Cash Payoff,”

 Snap Finance’s advertisements for its Purchase Agreements included phrases such as

 “No Credit Needed.”




       30.    In fact, Snap Finance automatically schedules consumers’ payments via

 preauthorized ACH debits to continue for the full 12 or 18 months of their Purchase


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  Agreement, typically amounting to more than double the cash price of the financed auto

  repairs and services.

         31.    To exercise a 100-day early payment discount option, which is always

  more than the “cash” price, consumers must first learn of their payoff amount by

  contacting Snap Finance or accessing Snap Finance’s online customer portal, and then

  schedule a new payment amount or make a balloon payment before their 100-day

  deadline.

         32.    Snap Finance does not send periodic statements to consumers, or

  otherwise affirmatively notify consumers of an impending deadline to exercise their

  100-day early payment discount option.

         33.    Consumers who miss this 100-day deadline must pay significantly more

  than the “cash” price under the terms of the Purchase Agreement.

         34.    Consumers who financed auto repairs and services through Purchase

  Agreements commonly believed they had entered into a 100-day financing agreement,

  under which their automatically scheduled payments would fulfill their payment

  obligations by the close of the 100-day period.

                     THE SNAP DEFENDANTS’ MERCHANT PORTAL

         35.    The Snap Defendants offer their financing exclusively through web-based

  applications at SnapFinance.com, at a merchant’s own website, or at a merchant’s

  storefront location through Snap Finance’s Merchant Portal.

         36.    Snap Finance’s Merchant Portal is a website that merchants access

  through their own computers or tablets. Merchants use the Merchant Portal to help

  consumers apply for Snap Defendants’ financing and, if approved, sign their Purchase



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  Agreement. Merchants also use the Merchant Portal to access trainings and resources

  that Snap Finance now provides.

        37.     From January 2017 to at least September 2020, approximately 63 percent

  of consumer applications that resulted in completed Purchase Agreements across

  industries were submitted through Snap Finance’s Merchant Portal.

        38.     From January 2017 to at least September 2020, Merchant Portal

  applications for the Snap Defendants’ financing were primarily completed—and the

  resulting Purchase Agreements signed—on a merchant’s own computer or tablet.

        39.     From January 2017 to at least September 2020, auto repair merchants

  frequently DocuSigned and submitted Purchase Agreements through the Merchant

  Portal on behalf of consumers without consumers’ prior review of their Agreement.

        40.     In January 2020, a Snap Finance Compliance Analyst responsible for

  addressing consumer complaints across industries emailed three Snap Finance

  employees the following: “[T]he customer is claiming that the salesperson at the store

  signed his agreement. As you may image [sic] this complaint is our most common

  complaint.”

        41.     Snap Finance’s Merchant Portal application and contracting process tasks

  merchants with explaining the Snap Defendants’ Purchase Agreement. But Snap

  Finance did not provide its merchant partners with written training materials about

  Purchase Agreements until February 2020.

        42.     From January 2017 to at least September 2020, auto repair merchants

  often failed to adequately explain the Snap Defendants’ Purchase Agreement to

  consumers at the point of sale, or otherwise misled consumers regarding the nature of

  the Agreement. Frequently, consumers did not understand that they were automatically

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  scheduled to pay approximately double the cash price of their financed auto repairs and

  services over the course of the 12-month payment period, or that their automatic

  payments would continue past the cash price or the 100-day early payment deadline.

         43.     From January 2017 to at least September 2020, Snap Finance required

  auto repair merchants to collect a “processing fee” from consumers after Snap Finance

  approved them for a Purchase Agreement, but before merchants reached a screen in the

  Merchant Portal that included a summary of the terms of the consumer’s Agreement. As

  a result, approved consumers were required to pay a fee associated with their

  Agreement before receiving a complete summary of its terms, and before seeing or

  signing their final Agreement.

         44.     In an August 2020 internal training presentation about upcoming changes

  to its Merchant Portal, Snap Finance included the following observations regarding

  common consumer complaints across industries pertaining to Purchase Agreements:

  “The Complaint: ‘What do you mean COST OF LEASE? I never knew about that!’ We

  know this because we here [sic] comments like this all the time.” and “The Complaint:

  ‘They did not explain that at the store!’ We know this because we here [sic] comments

  like this all the time.”

                   THE SNAP DEFENDANTS’ PURCHASE AGREEMENTS

         45.     Snap Finance requires consumers to provide their bank account

  information as part of the application process for Purchase Agreements. When

  consumers enter an Agreement, Snap Finance uses that banking information to

  schedule automatic payments from consumers’ accounts to continue for 12 or 18

  months.



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        46.    Since at least January 2017, under all versions of the Snap Defendants’

  Purchase Agreements, a consumer’s term “automatically and repeatedly” renews across

  the full 12 or 18 months of the Agreement (or until the consumer successfully terminates

  their payment obligations), regardless of whether the consumer makes their next

  scheduled payment.

        47.    Since at least January 2017, all Purchase Agreements have included a

  “Customer Authorization for Payments via ACH” provision, under which consumers

  must agree to the preauthorization of ACH debits for the purpose of making payments

  required under the Agreement.

        48.    Since at least January 2017, under all Purchase Agreements, consumers

  may only revoke their authorization for payments via ACH debit sometime after signing

  the Agreement.

        49.    The total cost of the Snap Defendants’ Purchase Agreements over the 12-

  or 18-month payment period typically amounts to more than double the cash price of

  the financed merchandise or service.

        50.    Consumers have the option of paying off their Agreement within the first

  100 days for slightly more than the cash price of their merchandise or service through a

  “Cash Payoff Option” or a “100-Day Payment Option.” To take advantage of these early

  payment options, consumers must affirmatively change their scheduled payments by

  calling Snap Finance or using Snap Finance’s online customer portal, or by making a

  balloon payment before the deadline. Once the 100-day deadline passes, consumers can

  pay off their Purchase Agreement early by exercising an “Early Buyout Option” for a

  smaller discount on the amount consumers would have owed under the full 12-month

  payment period of their Agreement.

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          51.   From January 2017 through March 2020, nearly all of the Snap

  Defendants’ Purchase Agreements featured a 60-day term, which automatically and

  repeatedly renewed across the Agreement’s 12-month payment period. Consumers were

  not permitted to terminate their Agreement until the end of a 60-day term.

          52.   Since at least January 2017, the Snap Defendants’ Purchase Agreements

  have stated, “You may terminate your lease payment obligations under this Agreement

  without penalty by paying all Regular Payments, fees and charges that are due or past

  due and voluntarily surrendering or returning the Property in its original condition, less

  reasonable wear and tear at the expiration of any lease term.” These Agreements also

  state, in connection with termination, that consumers “must promptly return the

  Property to us in accordance with our directions[.]”

          53.   In servicing Purchase Agreements, Snap Finance informed consumers

  they could not terminate their future payment obligations under their Agreement until

  they made all payments due and past due through the end of their recurring 60-day

  term.

          54.   Since at least January 2017, the Snap Defendants’ Purchase Agreements

  used to finance auto repairs and services identify such one-time repairs and services as

  the “Property,” or as part of the “Property,” being purchased. See Exs. A–G.

          55.   The Snap Defendants’ auto repair merchant partners often code one-time

  labor or service costs—including for “auto repair,” “transmission repair,” “engine

  repair,” and “collision repair”—as costs for “Products” for the Snap Defendants’

  recordkeeping when completing a Purchase Agreement within the Merchant Portal.

          56.   Likewise, the Snap Defendants’ auto repair merchant partners often group

  together “parts and labor” and code both as costs for “Products” for the Snap

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  Defendants’ recordkeeping when completing a Purchase Agreement within the

  Merchant Portal.

          57.   In 2020, the Snap Defendants began offering revised Purchase

  Agreements in four states with a term that matches the consumer’s regular payment due

  date.

          58.   Under all versions of the Snap Defendants’ Purchase Agreements for auto

  repairs and services, consumers’ scheduled payments across their initial term typically,

  or almost always, would not cover the costs of one-time labor or repairs. See Exs. A–G.

          59.   The Snap Defendants’ revised Purchase Agreements also state that

  consumers may terminate their future payment obligations “[a]t any time . . . without

  penalty . . . by surrendering or returning to us the Property in its original condition, less

  reasonable wear and tear.” The Agreements also state, in connection with termination,

  that consumers “must return the Property to a reasonable place we designate.”

          60.   Under all versions of the Snap Defendants’ Purchase Agreements,

  consumers are required to contact Snap Finance to obtain instructions for how to

  terminate their Agreement.

          61.   In 2022, the Snap Defendants began offering Purchase Agreements with

  18-month payment periods.

          62.   Under their Purchase Agreements, the Snap Defendants warn consumers,

  without any explanation, accounting, or basis, of potential “fees, charges and taxes

  imposed by governmental authorities in connection with termination,” or of “official

  fees and taxes imposed in connection with termination, including, but not limited to any

  applicable fines, surcharges, and taxes.”



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         63.    Under their Purchase Agreements, the Snap Defendants inform

  consumers that they are responsible for “all maintenance, repairs, upkeep and care” of

  the financed property, that the consumer “will pay any operating costs” associated with

  the property, and that the consumer “will, at [their] expense, service the Property in

  accordance with manufacturer standards.”

   THE SNAP DEFENDANTS’ REPRESENTATIONS ABOUT CONSUMERS’ RIGHT TO
                TERMINATE THEIR PAYMENT OBLIGATIONS

         64.    Internally, Snap Finance considers a “return” to be when a consumer

  seeking to terminate their future payment obligations under their Purchase Agreement

  returns their financed “Property” back to the merchant where the sale occurred. Snap

  Finance considers a “surrender” to be when a consumer seeking to terminate their

  payment obligations returns their financed merchandise directly to Snap Finance, or to

  another place that Snap Finance designates (including a charity or a site for disposal).

         65.    Likewise, internally, Snap Finance considers a “cancellation” to be when a

  consumer’s Purchase Agreement is voided, and any payments made pursuant to that

  Agreement are refunded back to the consumer, typically after a merchant partner agrees

  to accept the return of any financed “Property.” Conversely, Snap Finance considers a

  “termination” to relate to the cessation of future payment obligations consumers would

  owe under their Agreement.

         66.    Neither the Purchase Agreements, nor Snap Finance’s advertisements, nor

  its website explain these internal distinctions in terminology.

         67.    In fact, the Purchase Agreements use both “surrendering” and “returning”

  when discussing consumers’ “Right to Terminate” their future payment obligations, and




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  also use the terms “Revocation, Cancellation, Termination” together, within a single

  provision.

         68.     Snap Finance commonly receives complaints from consumers who had

  financed auto repairs and services and who seek to terminate their future payment

  obligations.

         69.     When consumers who financed auto repairs and services call Snap

  Finance seeking to terminate their future payment obligations under their Purchase

  Agreement, Snap Finance’s representatives typically instruct the consumer to discuss

  the matter directly with the auto repair merchant where the sale occurred.

         70.     If an auto repair merchant agrees to “cancel” the consumer’s prior

  transaction, including by receiving as a return any parts installed as part of an auto

  repair or service, the merchant is required to refund the payment they received back to

  Snap Finance for the original sale.

         71.     Commonly, Snap Finance’s auto repair merchant partners will not agree to

  “cancel” consumers’ prior auto repair and services transactions that include one-time

  labor or service costs.

         72.     When auto repair merchants refuse to “cancel” a consumer’s prior

  transaction, Snap Finance representatives frequently inform consumers seeking to

  terminate their future payment obligations that Snap Finance is obligated or

  contractually bound to follow the merchant’s “cancellation” policy, and thus consumers

  are required to continue making payments.

         73.     In fact, the Snap Defendants’ Purchase Agreements provide consumers

  who financed auto repairs and services and who are current on their payment

  obligations with the “Right to Terminate” their future payment obligations.

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         74.    Snap Finance representatives also inform consumers seeking to terminate

  their future payment obligations that auto parts or merchandise installed as part of auto

  repairs and services, as well as the one-time labor or services, cannot be returned or

  surrendered, and thus consumers are required to continue making payments.

         75.    In fact, the Snap Defendants’ Purchase Agreements include no such

  exceptions to consumers’ “Right to Terminate” their future payment obligations.

                  THE SNAP DEFENDANTS’ COLLECTION ACTIVITIES

         76.    Since at least January 2017, after 40 days of non-payment, Snap Finance

  typically emails consumers with Purchase Agreements a collection notice titled

  “Demand for Payment and Return of Merchandise.”

         77.    In that collection notice, Snap Finance states, “Failure to respond to this

  demand by [date], may result in further action.” Snap Finance also states, “Due to non-

  payment, we now require you to RETURN TO US the merchandise[.]” Snap Finance

  confirms, “Do not return your merchandise to [merchant’s name]; this arrangement

  must be worked out with us directly.”

         78.    Snap Finance ends its collection notice by directing consumers to contact

  Snap Finance at a phone number or email address to “discuss your options or give you

  instructions regarding the return of the merchandise.”

         79.    Since at least January 2017, Snap Finance has not forcibly repossessed

  merchandise due to non-payment by a consumer, or otherwise taken legal action against

  a consumer due to non-payment for auto repairs and services.

         80.    Further, from January 2017 to at least March 2020, the Snap Defendants’

  Purchase Agreements, as well as Snap Finance’s internal policies and procedures,

  prevented past-due consumers—including those to whom Snap Finance sent its

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  “Demand for Payment and Return of Merchandise” notice—from surrendering or

  returning their financed “Property” directly to Snap Finance.

           81.   During subsequent calls, consumers have asked Snap Finance

  representatives, for example, “are they going to take this to court?” and “how do you [ ]

  possibly expect to legally take the brakes off my car?”

           82.   During subsequent calls with consumers with Purchase Agreements across

  industries, Snap Finance representatives have described its collection notice as “an

  empty threat just to get customers to pay,” “just [ ] a demand to call back,” and as an

  automatic email “just to get customers to call in . . . [because] when we send that email

  we get phone calls.” A Snap Finance supervisor has also disclosed, “Because you got

  labor [ ] work . . . brakes done and everything, we are not going to be able to take that

  from you.”

                       SNAP FINANCE’S FURNISHING ACTIVITIES

           83.   From January 2017 to at least June 2022, Snap Finance furnished

  consumer information about millions of Purchase Agreements held by Snap RTO to

  DataX, a consumer reporting agency that collects and provides consumer payment

  history on payday and installment loans, subprime credit cards, and other specialty

  loans.

           84.   From January 2017 to at least June 2022, Snap Finance also furnished

  consumer information to DataX for most of the installment loans and retail installment

  contracts held by Snap Second Look. For a subset of Snap Second Look’s installment

  contracts, Snap Finance furnished consumer information to Experian.




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         85.    From January 2017 to at least June 2022, Snap Finance maintained one

  internal policy document concerning its responsibilities for furnishing consumer

  information relating to Purchase Agreements and installment contracts.

         86.    Snap Finance’s sole internal policy document relating to its furnishing

  responsibilities failed to include any direction as to the steps employees should take, or

  the systems employees should consult, in order to furnish accurate consumer

  information for the millions of Purchase Agreements and installment contracts that it

  serviced during this period.

         87.    Snap Finance’s sole internal policy document also failed to include any

  direction as to the steps employees should take, or the systems employees should

  consult, in order to conduct reasonable investigations of consumer furnishing disputes.

                      THE FEDERAL CONSUMER FINANCIAL LAWS

                                          THE CFPA

         88.    Sections 1031 and 1036 of the CFPA prohibit a “covered person” from

  committing or engaging in any “unfair, deceptive, or abusive act or practice” in

  connection with “any transaction with a consumer for a consumer financial product or

  service, or the offering of a consumer financial product or service.” 12 U.S.C. §§ 5531(a),

  5536(a)(1)(B).

         89.    The CFPA defines “covered person” to mean “any person that engages in

  offering or providing a consumer financial product or service.” 12 U.S.C. § 5481(6).

         90.    The CFPA defines “financial product or service” to include “extending

  credit and servicing loans.” 12 U.S.C. § 5481(15)(A)(i).




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         91.    The CFPA defines “credit” to mean “the right granted by a person to a

  consumer to defer payment of a debt, incur debt and defer its payment, or purchase

  property or services and defer payment for such purchase.” 12 U.S.C. § 5481(7).

         92.    The Snap Defendants’ Purchase Agreements, when used to finance one-

  time auto repairs and services that are not contemporaneous or substantially

  contemporaneous with consumers’ scheduled payments, and that cannot be

  surrendered nor possessed, are “credit” because they grant consumers the right “to defer

  payment of a debt, incur debt and defer its payment, or purchase property or services

  and defer payment for such purchase.”

                                 EFTA AND REGULATION E

         93.    EFTA provides that “No person may . . . condition the extension of credit

  to a consumer on such consumer’s repayment by means of preauthorized electronic

  fund transfers.” 15 U.S.C. § 1693k.

         94.    Regulation E similarly provides that “No financial institution or other

  person may condition an extension of credit to a consumer on the consumer’s

  repayment by preauthorized electronic fund transfers[.]” 12 C.F.R. § 1005.10(e)(1).

         95.    Regulation E defines “person” as “a natural person or an organization,

  including a corporation, government agency, estate, trust, partnership, proprietorship,

  cooperative, or association.” 12 C.F.R. § 1005.2(j).

         96.    Regulation E defines “preauthorized electronic fund transfer” as “an

  electronic fund transfer authorized in advance to recur at substantially regular

  intervals.” 12 C.F.R. § 1005.2(k).

         97.    The Snap Defendants meet the definition of “person” in Regulation E.



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         98.    Preauthorized ACH debits from consumers’ bank accounts meet the

  definition of “preauthorized electronic fund transfer” in Regulation E.

                                FCRA AND REGULATION V

         99.    From January 2017 to at least June 2022, Snap Finance was a “furnisher”

  under FCRA and Regulation V because it “furnish[ed] information relating to

  consumers to one or more consumer reporting agencies for inclusion in a consumer

  report.” 12 C.F.R. § 1022.41(c).

                     THE SNAP DEFENDANTS’ VIOLATIONS OF LAW

                            COUNT I: VIOLATION OF THE CFPA
                               (Deceptive Acts or Practices)

        The Snap Defendants used the misleading phrase “100 Day Cash Payoff” in
                     advertisements for their Purchase Agreements.

         100.   The Bureau incorporates and re-alleges by reference Paragraphs 25–26,

  27–34, and 88–92.

         101.   An act or practice is deceptive under the CFPA if (1) there is a

  representation, omission, or practice that (2) is likely to mislead consumers acting

  reasonably under the circumstances and (3) the representation, omission, or practice is

  material.

         102.   From January 2017 through at least 2020, Snap Finance used print

  advertisements for the Snap Defendants’ financing for auto repair and services

  merchants to display in their stores that prominently featured the phrase “100 Day Cash

  Payoff,” and that omitted any further explanation of the Snap Defendants’ Purchase

  Agreement financing.

         103.   Snap Finance schedules consumers’ payments via preauthorized ACH

  debits to continue for the full 12 months of their Purchase Agreement.

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        104.   To exercise a 100-day early payment discount option, which is always

  more than the “cash” price of the financed auto repair and services, consumers must

  schedule a new payment amount or make a balloon payment before their 100-day

  deadline.

        105.   Consumers who miss this 100-day deadline must pay significantly more

  than the “cash” price under the terms of the Purchase Agreements.

        106.   Consumers who received the Snap Defendants’ financing for auto repairs

  and services reasonably believed they had entered into a 100-day financing agreement,

  where their automatically scheduled payments would fulfill their payment obligations by

  the close of the 100-day period.

        107.   Snap Finance’s use of the prominent phrase “100 Day Cash Payoff” in its

  advertisements was material and likely to mislead consumers acting reasonably under

  the circumstances as to the nature of the Snap Defendants’ Purchase Agreements.

        108.   As a result, the Snap Defendants engaged in deceptive acts or practices, in

  violation of Sections 1031 and 1036 of the CFPA. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

                           COUNT II: VIOLATION OF THE CFPA
                               (Abusive Acts or Practices)

  The Snap Defendants’ Merchant Portal application and contracting process materially
    interfered with consumers’ ability to understand the terms and conditions of their
                                 Purchase Agreements.

        109.   The Bureau incorporates and re-alleges by reference Paragraphs 25–26,

  35–44, and 88–92.

        110.   An act or practice is abusive under the CFPA if it, among other things,

  “materially interferes with the ability of a consumer to understand a term or condition

  of a consumer financial product or service.” 12 U.S.C. § 5531(d)(1).


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        111.   From January 2017 to at least September 2020, Snap Finance designed

  and implemented a Merchant Portal application and contracting process for auto

  repairs and services that: (1) was, in most cases, completed entirely on an auto repair

  merchant’s computer or tablet, and frequently led to merchants signing and submitting

  Purchase Agreements on behalf of consumers without consumers’ prior review of their

  Agreement; (2) relied on auto repair merchants to explain those Agreements while

  providing them with no written guidance for doing so; and (3) required approved

  consumers to pay a processing fee before receiving a complete summary of the terms of

  their Agreement and before seeing or signing their final Agreement.

        112.   Snap Finance’s Merchant Portal application and contracting process

  materially interfered with consumers’ ability to understand the terms and conditions of

  the Purchase Agreements, including that consumers were automatically scheduled to

  pay approximately double the cash price of their financed auto repair and services over

  the course of the Agreement, or that their automatic payments would continue past the

  cash price or the 100-day early payment deadline.

        113.   As a result, the Snap Defendants engaged in abusive acts or practices, in

  violation of Sections 1031 and 1036 of the CFPA. 12 U.S.C. §§ 5531(a) and (d)(1),

  5536(a)(1)(B).

                   COUNT III: VIOLATION OF EFTA AND REGULATION E

   The Snap Defendants conditioned the extension of credit on consumers’ repayment by
                                 preauthorized EFTs.

        114.   The Bureau incorporates and re-alleges by reference Paragraphs 25–26,

  45–63, and 93–98.




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         115.   Since at least January 2017, all versions of the Snap Defendants’ Purchase

  Agreements have included a “Customer Authorization for Payments via ACH” provision,

  in which consumers must agree to the preauthorization of ACH debits for the purpose of

  making payments required under the Agreement. The Snap Defendants do not allow

  consumers to enter Purchase Agreements without agreeing to this provision.

         116.   Through this provision in their Purchase Agreements, the Snap

  Defendants condition the extension of credit on repayment by preauthorized electronic

  fund transfers.

         117.   As a result, the Snap Defendants violated EFTA and Regulation E. 15

  U.S.C. § 1693k; 12 C.F.R. § 1005.10(e)(1).

                          COUNT IV: VIOLATION OF THE CFPA

         118.   The Bureau incorporates and re-alleges by reference Paragraphs 25–26,

  45–63, and 93–98.

         119.   The CFPA defines “Federal consumer financial law” to include EFTA and

  its implementing Regulation E. 12 U.S.C. § 5481(14).

         120.   Under the CFPA, covered persons’ violations of Federal consumer

  financial law are violations of Section 1036 of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

         121.   As a result, the Snap Defendants’ violation of EFTA and Regulation E, as

  described in Count III, constitutes a violation of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

                           COUNT V: VIOLATION OF THE CFPA
                              (Deceptive Acts or Practices)

    The Snap Defendants misrepresented consumers’ right to terminate their payment
                                    obligations.

         122.   The Bureau incorporates and re-alleges by reference Paragraphs 25–26,

  64–75, and 88–92.

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         123.   Since at least January 2017, Snap Finance has misrepresented that

  consumers who used Purchase Agreements to finance auto repairs and services must

  continue making payments pursuant to that Agreement by misrepresenting that

  consumers may not terminate their future payment obligations absent a merchant

  agreeing to “cancel” their prior transaction.

         124.   In fact, under the Snap Defendants’ Purchase Agreements, consumers

  have the “Right to Terminate” their future payment obligations, provided they are

  current at the end of a 60-day term (or under the Snap Defendants’ more recent

  Purchase Agreements, “[a]t any time”), by “surrendering or returning” their financed

  “Property” to Snap Finance, or to a place that Snap Finance designates.

         125.   Such misrepresentations were material and likely to mislead consumers

  acting reasonably under the circumstances.

         126.   As a result, the Snap Defendants engaged in deceptive acts or practices, in

  violation of Sections 1031 and 1036 of the CFPA. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

                           COUNT VI: VIOLATION OF THE CFPA
                              (Deceptive Acts or Practices)

       The Snap Defendants threatened actions the Snap Defendants do not take in
                                     collections.

         127.   The Bureau incorporates and re-alleges by reference Paragraphs 25–26,

  76–82, and 88–92.

         128.   Since at least January 2017, Snap Finance has misrepresented in collection

  emails to consumers who financed auto repairs and services that the company may

  imminently take “further action” due to a consumer’s non-payment under their

  Purchase Agreement.



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         129.   In fact, since at least January 2017, Snap Finance has not forcibly

  repossessed “Property” due to non-payment, or otherwise taken legal action against a

  consumer due to non-payment under a Purchase Agreement.

         130.   Further, despite instructing past-due consumers in those emails to

  “RETURN TO US the merchandise,” the Snap Defendants’ Purchase Agreements,

  along with Snap Finance’s internal policies and procedures, prevented those consumers

  who financed auto repairs and services from surrendering or returning their financed

  “Property” directly to Snap Finance while past-due.

         131.   Such misrepresentations are material, and are likely to mislead consumers

  acting reasonably under the circumstances.

         132.   As a result, the Snap Defendants engaged in deceptive acts or practices, in

  violation of Sections 1031 and 1036 of the CFPA. 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

                 COUNT VII: VIOLATION OF FCRA AND REGULATION V

     Snap Finance failed to establish and implement reasonable written policies and
   procedures concerning the accuracy and integrity of consumer information that they
                                        furnished.

         133.   The Bureau incorporates and re-alleges by reference Paragraphs 18–20,

  83–87, and 99.

         134.   Section 1022.42(a) of Regulation V, the implementing regulation of FCRA,

  15 U.S.C. § 1681 et seq., requires a furnisher to establish and implement reasonable

  written policies and procedures regarding the accuracy and integrity of the consumer

  information that it furnishes to a consumer reporting agency, and further provides that

  the policies and procedures must be appropriate to the nature, size, complexity, and

  scope of each furnisher’s activities. 12 C.F.R. § 1022.42(a).



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         135.   From January 2017 to at least June 2022, Snap Finance furnished

  consumer information about millions of Purchase Agreements and retail installment

  contracts that it serviced on behalf of Snap RTO and Snap Second Look.

         136.   From January 2017 to at least June 2022, given the size, complexity, and

  scope of Snap Finance’s furnishing activities, Snap Finance failed to establish or

  implement reasonable written policies and procedures regarding the accuracy and

  integrity of the consumer information that it furnished to consumer reporting agencies.

         137.   Section 1022.42(b) of Regulation V requires furnishers to consider the

  guidelines in Appendix E of Regulation V in developing appropriate policies and

  procedures and to incorporate those guidelines where appropriate. 12 C.F.R. §

  1022.42(b).

         138.   Appendix E of Regulation V provides that, in developing its policies and

  procedures, a furnisher should address the following topics, among others, as

  appropriate: appropriate internal controls regarding the accuracy and integrity of

  furnished information, such as by verifying random samples of information provided to

  consumer reporting agencies; conducting a periodic evaluation of the furnisher’s own

  practices, investigations of disputed information, and corrections of inaccurate

  information; and maintaining records for a reasonable period in order to substantiate

  the accuracy of any information about consumers it furnishes that is subject to a direct

  dispute. Appendix E to 12 C.F.R. Part 1022.

         139.   From January 2017 to at least June 2022, Snap Finance failed to

  incorporate the elements set forth in Appendix E, as appropriate, in its policies and

  procedures governing its furnishing.



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         140.    As a result, Snap Finance violated Regulation V. 12 C.F.R. § 1022.42(a),

  (b).

                          COUNT VIII: VIOLATION OF THE CFPA

         141.    The Bureau incorporates and re-alleges by reference Paragraphs 18–20,

  83–87, and 99.

         142.    The CFPA defines “Federal consumer financial law” to include FCRA and

  its implementing Regulation V. 12 U.S.C. § 5481(14).

         143.    Under the CFPA, covered persons’ violations of Federal consumer

  financial law are violations of Section 1036 of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

         144.    As a result, Snap Finance’s violation of FCRA and Regulation V, as

  described in Count VII, constitutes a violation of the CFPA. 12 U.S.C. § 5536(a)(1)(A).

                                    PRAYER FOR RELIEF

         145.    The Bureau requests that the Court, as permitted by 12 U.S.C. § 5565:

            a.      Permanently enjoin the Snap Defendants from committing future

                    violations of the CFPA, EFTA and Regulation E, and FCRA and

                    Regulation V in connection with the advertising, contracting, and

                    servicing of Purchase Agreements;

            b.      Grant additional injunctive relief as the Court may deem just and

                    proper;

            c.      Award monetary relief, including but not limited to rescission or

                    reformation of the Purchase Agreements; the refund of monies paid;

                    restitution; disgorgement or compensation for unjust enrichment; and

                    the payment of damages;

            d.      Award the Bureau civil money penalties;

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           e.     Award the Bureau the costs of bringing this action; and

           f.     Award such other and additional relief as the Court may determine to

                  be just and proper.



  Dated: August 15, 2024           Respectfully submitted,

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